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IN THE UNITED STATES DISTRICT CoU_R=r-- ‘°°°E°---
FoR THE I)ISTRICT oF MARYLAND EAUG 3 1 ms

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Plaintiff(s) 63 ,____
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vs. R\ * Civil No.: ` ‘ " ' '
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Diversity (none of the defendants are residents of the state where plaintiff is a
resident)

Federa| question (suit ls based upon a federal Statute or provision of the United
States Constitution)

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(Printed name, address and phone number of
Plaintif`D

Privacy Rules and Judicial Conference Privacy Policy

Under the E-Govemment Act and Judicial Conl"erence policy, any paper filed with the court should not
contain an individual’s social security number, full birth date, or home address; the full name of person '
known to be a minor; or a complete financial account number. These rules address the privacy concerns
resulting from public access to electronic case files.

Complaint (Rev ll!l[)(l())

 

 

